Case: 2:15-cv-02959-GCS-CMV Doc #: 65-7 Filed: 05/09/17 Page: 1 of 3 PAGEID #: 611




                     EXHIBIT 5
Case: 2:15-cv-02959-GCS-CMV Doc #: 65-7 Filed: 05/09/17 Page: 2 of 3 PAGEID #: 612


  From:             Baggio, Alex
  To:               Eric Bravo; Helland, Matthew; Stender, Kayla
  Cc:               Joseph Gerling; "Christopher Wesierski"; "Laura Barns"; Kelly Atherton
  Subject:          RE: MBF / Settlement week - please advise ASAP
  Date:             Tuesday, March 14, 2017 5:02:34 PM



 Eric,
  
 The proposed deposition dates we identified are a week away, and we have not heard anything from
 you on the issue.  Please confirm as soon as possible if you wish to proceed with these dates and
 locations.  If you do, we will see if the plaintiffs are still available.
  
 Alex
  




     Alexander M. Baggio
     Associate Attorney
     612-256-3295 | abaggio@nka.com

     4600 IDS Center, 80 S. 8th St.
     Minneapolis, MN 55402
     877-448-0492 | fax: 612-215-6870
     www.nka.com
     contact card


 EMPLOYEE & CONSUMER RIGHTS

 The information contained in this transmission may be attorney privileged and/or confidential
 information intended for the use of the individual or entity named above.  If the reader of this
 message is not the intended recipient, you are hereby notified that any dissemination, distribution
 or copying of this communication is strictly prohibited.
  
 From: Baggio, Alex
 Sent: Thursday, March 09, 2017 3:01 PM
 To: 'Eric Bravo'; Helland, Matthew; Stender, Kayla
 Cc: Joseph Gerling; 'Christopher Wesierski'; 'Laura Barns'; Kelly Atherton
 Subject: RE: MBF / Settlement week - please advise ASAP
  
 Eric,

 We called the Court and let them know the parties do not wish to proceed with a conference during
 the March settlement week.
  
 Concerning opt-in plaintiffs’ depositions, we provided you with potential dates and locations for
 individuals for whom we were are able to provide availability within the timeframe Defendant
 initially requested.  We have since confirmed availability for James Klug in Pecos, TX on March 21–22
 or March 28–29, and Larry Alexander in Jackson, MS on March 30–31 or April 3–7.  For the
Case: 2:15-cv-02959-GCS-CMV Doc #: 65-7 Filed: 05/09/17 Page: 3 of 3 PAGEID #: 613


 remaining seven opt-ins, we have been unable to obtain deposition times from them and suggest
 the parties identify alternatives. Let us know if you’d like us to offer up seven alternatives.  Since
 Defendant now seeks to expand depositions to all of April, please let us know what days you are not
 available so we may take them into account now.
  
 Alex
  
  




     Alexander M. Baggio
     Associate Attorney
     612-256-3295 | abaggio@nka.com

     4600 IDS Center, 80 S. 8th St.
     Minneapolis, MN 55402
     877-448-0492 | fax: 612-215-6870
     www.nka.com
     contact card


 EMPLOYEE & CONSUMER RIGHTS

 The information contained in this transmission may be attorney privileged and/or confidential
 information intended for the use of the individual or entity named above.  If the reader of this
 message is not the intended recipient, you are hereby notified that any dissemination, distribution
 or copying of this communication is strictly prohibited.
  




  


  




  
